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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    PATRICK CALHOUN, et al.,                          Case No. 20-cv-05146-YGR (SVK)
                                   8                  Plaintiffs,
                                                                                          ORDER SETTING JUNE 16, 2022
                                   9           v.                                         DEADLINE FOR RESPONSE TO
                                                                                          GOOGLE'S ADMINISTRATIVE
                                  10    GOOGLE LLC,                                       MOTION FOR CLARIFICATION
                                  11                  Defendant.

                                  12          Any response to Google LLC’s Administrative Motion for Clarification of June 13, 2022
Northern District of California
 United States District Court




                                  13   Discovery Order (Dkt. 705) is due June 16, 2022.
                                  14          SO ORDERED.
                                  15   Dated: June 15, 2022
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                                                                                                SUSAN VAN KEULEN
                                  18                                                            United States Magistrate Judge
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